Case 1:18-mj-00349-LF

Document 13 _—~Filed 03/14/18

Page 1 of 1
Gnited States District Court
District of New Mexico
Office of the Clerk Divisional @tt
Pete W. Womenici United States Courthouse Hoisionial Ounces

106 South Federal Place
ok a Santa Fe, NM 87501
333 Lomas Blvd. N.W. - neh L EF; ) (505) 988-6481

no es HNRBE EHESOsicx court"
Matthew J. Bykman UERSUE, NEW MEXIC(Qo North Church Street
Clerk of Court

Las Cruces, NM 88001
MAR 1 4 2018 (575) 528-1400
Fax (575) 528-1425

MATTHEW J. DYKMAN
February 14,2018 CLERK

United States District Court of New York — Southern Division
Daniel Patrick Moynihan United States Courthouse

Attn: Court Clerk

500 Pearl Street, Room 120

New York, NY 10007-1312

RE: USAv. Casey Michael Antone

Your Case No. 18MAG0831  BDey 19 C/LIOF (Pac
New Mexico Case No. 18mj349 LF

Dear Clerk of Court:

The above numbered case has been ordered removed to your District pursuant to a

Commitment Order by this Court. Casey Michael Antone appeared in our district and has been
committed to your district for further proceedings. .

You may access electronically filed documents in this case at our ECF/PACER web

address http://ecf.nmd.uscourts.gov. Any documents not available electronically are enclosed in
paper format.

Please acknowledge receipt on the enclosed copy of this letter and return to this office.

Yours truly,
MATTHEW J. DYKMAN, Clerk

By: ‘Grin Nets

Deputy Clerk

